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              Exhibit 30
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                        Plaintiff,

               v.                                    Civil Action No. l:17-cv-11008-MLW

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and HOSPIRA, INC.,

                        Defendants.


DECLARATION OF JOHN RUESCH IN SUPPORT OF NON-PARTY BIOGEN, INC.’S
 OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL BIOGEN TO COMPLY
                       WITH SUBPOENAS

       I, JOHN RUESCH, hereby declare as follows:

       1.      I submit this declaration in support of non-party Biogen, Inc.’s Opposition to

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.’s (the “Defendants”) Motion to

Compel Biogen, Inc. to Comply with Subpoenas in the lawsuit captioned above. My declaration

is based on my experience, my personal knowledge as an employee of Biogen MA, Inc., and on

information that I have obtained to prepare this declaration. If called to testify as to the facts

stated in this declaration, I could and would testify competently thereto.

       2.      I am over the age of eighteen (18). I reside in Lexington, Massachusetts.

       3.      I am the Vice President of Technical Development at Biogen MA, Inc. Biogen

MA, Inc. is a subsidiary of Biogen, Inc. I refer to Biogen MA, Inc. and Biogen, Inc. collectively

herein as “Biogen.”

       4.      I am experienced in the development of biologic products, including the

development of products and processes intended to maximize cell cultures’ expression of certain
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molecules. In my experience, the ability to effectively cause the expression of a certain desired

molecule through the use of such products and processes depends on many factors, including, for

example, the cell line, the cell culture basal medium, the cell culture feed media, culture

duration, temperature, pH, dissolved Oxygen, process operating conditions (e.g., aeration

strategy, CO2 removal, and cell shear), and a host of other environmental conditions.

       5.      As part of Biogen’s efforts to maximize the expression of certain desired

molecules using certain of its proprietary cell lines, Biogen has created proprietary cell culture

basal and feed media.

       6.      I am aware that proprietary cell culture basal and feed media developed by

Biogen are presently used by Samsung Bioepis Co., Ltd. (“Bioepis”) – which I understand to be

a joint venture between Biogen and Samsung BioLogics – to make the active ingredient

(infliximab) used in Renflexis®, a biosimilar product sold by Bioepis. I will refer to these cell

media herein as the “Biogen Media.”

       7.      The Biogen Media are unique formulations different from any other cell culture

media I am aware of, including other proprietary media developed by Biogen, other companies,

or academic institutions, and media that are made commercially available to the public.

       8.      I understand, based on the information presently available to me, that Biogen

developed the Biogen Media through extensive experimentation and the expenditure of much

effort and financial resources. Biogen’s development of the Biogen Media was an iterative

process that took place continually over the course of many years before Biogen arrived at the

proprietary formulation of the Biogen Media.




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        9.      Biogen has not made, and does not presently make, the Biogen Media available

for sale to the public. Biogen has not supplied, and does not presently supply, any third-party

with the Biogen Media for purposes of resale to the public.

        10.     While the Biogen Media is used to make Bioepis’ infliximab product, I

understand that Bioepis is obligated to maintain confidentiality of the compositions and

formulations of the Biogen Media. I also understand that Bioepis is prohibited from undertaking

any efforts to reverse-engineer or otherwise test the Biogen Media to discover their compositions

or formulations.

        11.     Biogen treats information regarding the Biogen Media, including information

sufficient to determine the Biogen Media’s compositions or formulations, as strictly confidential.

Biogen has taken steps to ensure the confidentiality of this information and to prevent its

disclosure to third-parties.

        12.     Those steps include, for example, restricting the number of Biogen personnel

whom are permitted to access information regarding the Biogen Media’s compositions and

formulations. Aside from Biogen’s counsel (whom I understand may be granted access to such

information as necessary to represent Biogen), I am presently aware of no more than six (6)

Biogen employees who have full access to the information sufficient to determine the Biogen

Media’s compositions and formulations.

        13.     Biogen has also taken steps to limit the distribution and volume of hardcopy and

electronic materials containing information sufficient to determine the Biogen Media’s

compositions and formulations. I understand, for example, that such materials are marked as

“confidential” or that the sensitive nature of the information is otherwise communicated. In

addition, hardcopy and electronic documents containing information sufficient to determine the

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Biogen Media’s compositions and formulations cannot, to the best of my present knowledge, be

accessed using physical or electronic (e.g., network drives/folders) document repositories

generally available to Biogen personnel. Biogen restricts access to such materials to the small

number of Biogen personnel who must know about the Biogen Media’s compositions and

formulations to perform their job functions.

       14.     Biogen purchases certain of the raw materials it uses to make the Biogen Media

from third parties. Biogen has taken care to divide its material purchasing among various

vendors in an effort to ensure that none of them can independently determine the composition of

the Biogen Media.

       15.     I understand, based on the information presently available to me, that Bioepis and

Biogen directly compete with Defendants, as well as plaintiff Janssen Biotech, Inc., in the

marketplace for biologic therapies.

       16.     I understand, based on the information presently available to me, that the

proprietary materials and processes Biogen uses to produce biologic products – including, in

substantial part, the Biogen Media – result in exceptionally high productivity and yield. This, in

turn, results in Biogen’s costs being lower relative to its competitors, affording it a material

competitive advantage in the marketplace. Were the proprietary compositions and formulations

of the Biogen Media made available to Biogen’s competitors, that advantage would rapidly and

irreparably erode.




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                                 CERTIFICATE OF SERVICE

        I, Joshua S. Barlow, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this 16th
day of January 2018.

                                       /s/ Joshua S. Barlow
                                           Joshua S. Barlow
 
